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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

NATIONAL CHICKEN COUNCIL, ef ai.,
Plaintiffs,

VS.
No. 4:24-cv-03786

BROOKE ROLLINS, in her official capacity
as SECRETARY OF AGRICULTURE, e7 al., Judge Andrew Hanen
Defendants,

and

RANCHERS CATTLEMEN ACTION
LEGAL FUND UNITED STOCKGROWERS
OF AMERICA, WESTERN
ORGANIZATION OF RESOURCE
COUNCILS, ALABAMA CONTRACT
POULTRY GROWERS ASSOCIATION,
AND LATINO FARMERS AND
RANCHERS INTERNATIONAL,

Proposed Defendant-
Intervenors

DECLARATION OF RUDY ARREDONDO

I, RUDY ARREDONDO, am over the age of 18, have personal knowledge of the facts set forth
herein, and, if called as a witness, could and would competently testify to the following:
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L I am the Director and Founder of Latino Farmers and Ranchers International
(“LFRI’). LFRI was founded in 2023, and I have been the President since that time.

2 I make this declaration in support of LFRI and other Farmer and Rancher
Organizations’ motion to intervene in this case, which challenges the United States Department
of Agriculture’s (“USDA”) Final Rule issued March 6, 2024, entitled “Inclusive Competition
and Market Integrity Under the Packers and Stockyard Act” (the “Rule’’).

3. LFRI is a 501(c)(3) tax-exempt organization incorporated in the state of
Delaware. LFRI’s main office is located at 19627 Crystal Rock Dr., Germantown, MD, 20874.

4. LFRI’s mission is to assist and advocate for farmworkers, farmers and ranchers
that have been historically discriminated against. To accomplish this, LFRI works in rural
communities across the US and beyond to organize, educate, and empower its members.

Our mission and activities allow us to provide our members and their communities access to
identified resources and opportunities that have previously been denied to them. This allows our
members to be self-sufficient and further develop and assist their communities. LFRI initiates
local involvement and is the bridge to opportunities in domestic and international markets that
will assure success and sustainability for our constituents.

5. LFRI is a network of multi-ethnic, small to medium sized farmers and ranchers
that come together through collaboration with other organizations that also represent the interests
of farmers and ranchers. LFRI has approximately 75,000 small to medium sized producers that
we consider our constituents — these are the farmers and ranchers that we work for and advocate
on behalf of. Our network of allied organizations includes Rural Coalition, Ranchers-Cattlemen

Action Legal Fund United Stockgrowers of America, National Farmers Union, Farm Bureau,
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Future Harvest, United Farmworkers Union, American Sustainable Business Network, and
Federation of Southern Co-Ops, among others.

6. LFRI is a member of the Ranchers Cattlemen Action Legal Fund United
Stockgrowers of America.

i. Each year LFRI hosts a meeting, or Congreso, where its voting membership
gathers to discuss issues and set LFRI’s priorities for the coming year and beyond.

8. Many of LFRI’s constituents are small-scale farmers and ranchers that struggle to
access conventional supply chains, so we are trying to develop local and regional meatpacking
operations so that our constituents can grow their businesses without having to be exposed to the
big meatpackers who generally disfavor smaller-scale producers.

9. LFRI’s constituents include cattle ranchers, farm workers, farm owners, and
contract producers.

10. LFRI also works with and on behalf of Native American farmers and ranchers, in
particular pueblo communities in New Mexico and the Navajo Nation. These farmers and
ranchers have been subjected to particularly bad discrimination and abusive treatment across the
board, including refusals to deal with them. LFRI partners with the Intertribal Agricultural
Council to advocate for the interests of these constituents.

11. LFRI works to provide technical support to its constituents and to advocate on
important policy and legal issues on their behalf.

12. LFRI’s programs areas include:

a. Emergency Relief Program that helps farmers and ranchers understand what

disaster assistance may be available to them through USDA;
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b. Latino Farmer Exchange Program, a J1 visa exchange program for universities
and farmers in the United States to work with a grower, laborer, or student from a
Latin American country;

c. Nueva Generation en La Tierra, a youth program similar to Future Farmers of
American an 4H for students to learn from the cultural knowledge base at LFRI
and to grow as farmers;

d. La Historia Program, a partnership designed to digitize the stories and
certifications of small to medium sized family farms to assist them getting their
products to market and telling their story;

e. Manoa Mano Program to share technical assistance among farmers to enhance
regenerative agricultural programs in the United States and beyond;

f. Local Food to Global Impact, a capacity-building program designed to incentivize
farmers to implement climate resilient and sustainable practices and distribute the
resulting food locally;

g. Hoy para Futuro Program designed to increase accessibility for future and current
farmers to research opportunism, emerging technologies, first market
opportunities and incentives;

h. Partnership Organization Collaboration Program designed to assist in the
organization and staffing of regional cooperatives; and

i. Land Leaders Program intended to develop lead regional advocates to gather and
express the concerns of our members to local, state, and national governments.

13. LFRI regularly engages in advocacy across the country, including to USDA and

legislators. For example, for the last three years LFRI officers have joined a “fly in” organized
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by Farm Action to advocate to policymakers on our priority issues, including better protections
for farmers and ranchers.

14. Discrimination is an historic practice that has limited and continues to limit
LFRI’s constituents’ business opportunities. For example, some LFRI members that raise cattle
feel that they can only get a fair deal when they sell their cattle in certain places. For some, this
means not contracting directly with the large packers or selling directly to them. Instead, they
sell through sale barns that then go on to sell the cattle to feedlots and then the big packers. Since
sale barns usually have multiple buyers and numerous sellers, buyers do not know which cattle
are being sold by a Hispanic or other minority rancher and which are not. Avoiding this potential
for discrimination provides better opportunity to get fair prices. But it also means fewer market
opportunities for our members.

15. Some LFRI constituents have even experienced discrimination at the hands of
USDA employees working for the Farm Service Agency, which provides critical loans to
farmers and ranchers. We have seen these officials disfavor our constituents based on their race
or ethnicity. Because our constituents are smaller-scale farmers and ranchers, this only makes
getting loans and equal treatment more difficult. LFRI believes that farmers or ranchers that
upset a big packer can face repercussions in their ability to secure loans from the Farm Service
Agency, implying a degree of coordination between the packers and USDA employees in some
places. Inability to get Farm Service Agency loans can be devastating for a farmer or rancher.

16. While our members have experienced this mistreatment firsthand and will be
exposed to abuse in the future, pervasive retaliation over many years against producers that “get
out of line” has led to a culture of fear and silence. LFRI’s members understandably fear that

coming forward personally in this or other legal proceeding would put their businesses and
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livelihoods at risk. That the plaintiffs in this lawsuit, representing big meatpackers and poultry
companies, are trying to strike down a Rule written to protect our constituents from this kind of
retaliation and discrimination only increases the risk and fears.

17; If the Rule’s prohibition on discriminating against a farmer or rancher based on
his race or ethnicity were to be struck down in this case as Plaintiffs want, it would take away a
critical and hard-won protection for LFRI’s constituents and would only exacerbate the
challenges faced by our members to get equal treatment. LFRI strongly supported the final Rule
precisely because it offers much needed and clear protections against discrimination.

18. LFRI’s constituents also benefit from the Rule’s clear protections against
retaliation and deception. As smaller-scale producers that historically have been vulnerable and
marginalized, LFRI is concerned that the risk of retaliation will increase for our constituents if
the Rule is eliminated by the Court. Similarly, our constituents are at increased risk of being
deceived by, for example, refusals to contract based on false or misleading reasons when the real
reason is discriminatory or an unwillingness to work with marginalized, smaller farmers and
ranchers.

19. LFRI works to educate our members about the abusive practices in livestock
markets and to provide tools to navigate those challenges.

20. The livelihoods and economic opportunities of LFRI’s members depend on being
able to run their businesses free of the discrimination, retaliation, and deception prohibited by the
Rule and upon effective enforcement of the Packers and Stockyards Act. The Rule provides
critical protections to LFRI’s constituents against this abusive conduct at the hands of packers
that pervade the livestock and poultry industries. LFRI and its constituents would suffer

significant harm if the Rule were vacated as a result of this litigation. LFRI strongly believes the
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only way it can adequately protect its constituents’ interests that are a stake in this action is by

intervening in defense of the Rule.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 31, 2025 in Germantown, MD

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Ki, fd iudendo

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Rudy Arredondo
